 Case 8:15-cv-01128-CJC-JCG Document 119 Filed 08/31/17 Page 1 of 6 Page ID #:2008




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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                   SOUTHERN DIVISION
11
                                         )
12                                       )             Case No.: SACV 15-01128-CJC(JCGx)
                                         )
13
     MARA ALLEN and GILBERT              )
                                         )
14   ABARCA, on behalf of themselves and )
     all persons similarly situated,     )
15                                       )             ORDER GRANTING DEFENDANTS’
                                         )             MOTION TO STAY AND DENYING
16                Plaintiffs,            )             PLAINTIFFS’ MOTION TO STAY,
                                         )             DISMISS, OR TRANSFER THE
17          v.                           )             DOBKIN ACTION
                                         )
18                                       )
     NRG ENERGY, INC., NRG               )
19
     RESIDENTIAL SOLAR SOLUATIONS )
                                         )
20   LLC, and DOES 1-100, inclusive,     )
                                         )
21                                       )
                  Defendants.            )
22                                       )
23

24         Plaintiffs bring this putative class action against Defendants NRG Energy, Inc.,
25   and NRG Residential Solar Solutions LLC (“NRG Residential”) for violating the
26   Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”). (See generally Dkt.
27   19.) Before the Court is Defendants’ motion to stay the case pending classwide
28   settlement in the related Dobkin action, (Dkt. 97 [hereinafter “Def. Mot.”]), and

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 Case 8:15-cv-01128-CJC-JCG Document 119 Filed 08/31/17 Page 2 of 6 Page ID #:2009




 1   Plaintiffs’ motion to stay, dismiss, or transfer the Dobkin action, (Dkt. 110 [hereinafter
 2   “Pl. Mot.”]).
 3

 4         The parties do not dispute that the Dobkin action and the present case involve the
 5   same claims for violation of the TCPA against the same defendants, NRG Energy, Inc.
 6   and NRG Residential. Dobkin v. NRG Residential Solar Solutions LLC, Case No. 3:15-
 7   cv-05089 (D.N.J.); (Def. Mot. at 3; Dkt. 102, Plaintiffs’ Opposition to Defendants’
 8   Motion [hereinafter “Pl. Opp.”] at 9). The Dobkin action was filed two weeks after the
 9   present case. (Pl. Opp. at 9.) The Dobkin parties’ court supervised settlement
10   negotiations have concluded, (Dkt. 108, Defendant’s Reply [hereinafter “Def. Reply”] at
11   2), and the parties have submitted a settlement term sheet, (Dkt. 101). The Dobkin
12   parties are in the process of finalizing a formal settlement agreement and are expected to
13   file a motion for preliminary approval of the settlement agreement within 30 to 45 days
14   of August 4, 2017. (Dkt. 108-1, Declaration of Rafey Balabanian ¶ 18.)
15

16         The parties agree that the Dobkin settlement class encompasses the class that
17   Plaintiffs seek to represent in this case. (Def. Reply at 1; Pl. Opp. at 9–10.) Plaintiffs’
18   proposed class includes individuals whose lead information was offered to Defendants by
19   Sunlight Solar Leads. (Pl. Opp. at 8.) The Dobkin settlement class includes all
20   individuals whose lead information was offered to Defendants by any lead generator,
21   including Sunlight Solar Leads. (Pl. Opp. at 6; Dkt. 101-1.) The parties dispute what
22   should be done given these two pending related actions.
23

24         A court may stay proceedings as part of its inherent power “to control the
25   disposition of the causes on its docket with economy of time and effort for itself, for
26   counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); see also
27   Clinton v. Jones, 520 U.S. 681, 706 (1997) (“The District Court has broad discretion to
28   stay proceedings as an incident to its power to control its own docket.”) (citing Landis).

                                                   -2-
 Case 8:15-cv-01128-CJC-JCG Document 119 Filed 08/31/17 Page 3 of 6 Page ID #:2010




 1   In determining whether to stay a case, “the competing interests which will be affected . . .
 2   must be weighed.” Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir. 2005) (citing
 3   CMAX Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962)). These interests include: “(1) the
 4   possible damage which may result from the granting of a stay, (2) the hardship or
 5   inequity which a party may suffer in being required to go forward, and (3) the orderly
 6   course of justice measured in terms of the simplifying or complicating of issues, proof,
 7   and questions of law which could be expected to result from a stay.”1 Id.
 8

 9          Courts regularly stay pending putative class actions in light of class settlements in
10   other cases where the proposed settlement class stands to dispose of the pending class’s
11   claims. See, e.g., Annunziato v. eMachines Inc., 2006 WL 5014567, at *5–6 (C.D. Cal.
12   July 24, 2006) (granting defendant’s motion to stay in light of pending settlement in
13   separate court where the pending settlement potentially redressed the injuries incurred by
14   the plaintiffs); Advanced Internet Techs., Inc. v. Google, Inc., 2006 WL 889477 (N.D.
15   Cal. Apr. 5, 2006) (staying case where a class action pending in other court could have
16   material impact the number of class members with viable claims against defendant).
17

18          Defendants argue that staying this case would avoid potentially inconsistent
19   resolutions of issues and would serve the interest of judicial efficiency. (Def. Mot. 5–6.)
20   The Court agrees. The two cases have the same claims and defendants. The Dobkin
21   settlement class encompasses Plaintiffs’ proposed class. In light of this overlap, the
22   Dobkin settlement will dispose of Plaintiffs’ claims. These similarities weigh in favor of
23   staying the case pending the resolution of the Dobkin settlement. Plaintiffs’ observations
24   that this Court and the parties have expended significant resources litigating the present
25

26   1
       This standard, rather than the traditional four factor test articulated in Nken v. Holder, 556 U.S. 418
27   (2009), is appropriate since Defendants seek to stay ongoing proceedings rather than the enforcement of
     this Court’s Judgment. See Finder v. Leprino Foods Co., No. 113CV02059AWIBAM, 2017 WL
28   1355104, at *2–3 (E.D. Cal. Jan. 20, 2017) (collecting cases); see also AsIs Internet Servs. v. Active
     Response Grp., No. C07 6211 TEH, 2008 WL 4279695, at *4 n.1 (N.D. Cal. Sept. 16, 2008).
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 Case 8:15-cv-01128-CJC-JCG Document 119 Filed 08/31/17 Page 4 of 6 Page ID #:2011




 1   case does not support denial of Defendants’ motion, as a stay will prevent future needless
 2   litigation if the Dobkin settlement is approved. (Pl. Opp. at 4, 7.)
 3

 4         A stay will not prejudice the Plaintiffs. Plaintiffs may elect to accept recovery
 5   under the Dobkin settlement if it is approved. (Def. Mot at 5.) If the Dobkin settlement
 6   is not approved, Plaintiffs may seek to lift the stay and resume this action. (Id.) As the
 7   Dobkin parties will file for preliminary approval of the settlement soon, any delay in the
 8   present case will be minor. Plaintiffs have failed to demonstrate how they will be
 9   prejudiced outside of a minor delay in filing their renewed motion for class certification.
10   Plaintiffs make various arguments about the fairness of the Dobkin settlement terms, (Pl.
11   Opp. at 4–6), but these arguments are irrelevant to the Court’s determination of whether
12   or not to stay the present case. Plaintiffs’ remedy for any alleged unfairness was and is to
13   object in the Dobkin court.
14

15         Even though the Dobkin settlement has not been finalized, a stay is appropriate.
16   Courts grant stays even where the parties in the separate pending action have not yet
17   moved for preliminary approval of settlement. See, e.g., In re JPMorgan Chase LPI
18   Hazard Litig., 2013 WL 382971 at *4–5 (N.D. Cal. July 23, 2013) (granting defendants’
19   motion to stay for settlement in part for 60 days where the parties in the separate action
20   had agreed to a settlement in principle, initiated a Settlement Term Sheet, and set a date
21   by which a Settlement Agreement was to be filed); Jaffe v. Morgan Stanley DW, Inc.,
22   2007 WL 163196 (N.D. Cal. Jan 19, 2007) (staying a pending putative class action in
23   light of “advanced” settlement negotiations in a separate class action, filed in another
24   district). Plaintiffs argue that In re JPMorgan and Jaffe are distinguishable from the
25   present case because no motion for class certification had been filed in those actions. (Pl.
26   Opp. at 7.) This distinction is immaterial. Plaintiffs’ argument that all efforts to move
27   the case towards determination of class certification will be wasted if the case is stayed
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 Case 8:15-cv-01128-CJC-JCG Document 119 Filed 08/31/17 Page 5 of 6 Page ID #:2012




 1   does not demonstrate how Plaintiffs will be prejudiced by a stay. (Pl. Opp. at 8.) A stay
 2   will likely save the Court’s resources and counsels’ time going forward.
 3

 4         Plaintiffs also argue that staying the case would be contrary to the “first-to-file”
 5   rule. (Pl. Opp. at 8–10.) The first-to-file rule may be invoked “when a complaint
 6   involving the same parties and issues has already been filed in another district” to transfer
 7   the later filed case to the district where the first-filed case is pending. Pacesetter Systems,
 8   Inc. v. Medtronic, Inc., 678 F.2d 93, 95 (9th Cir. 1982). A court may disregard the first-
 9   to-file rule in the interests of equity. Alltrade, Inc. v. Uniweld Prods., Inc., 946 F.2d 622,
10   625 (9th Cir. 1991). The purpose of the first-to-file doctrine “is designed to avoid
11   placing an unnecessary burden on the federal judiciary, and to avoid the embarrassment
12   of conflicting judgments.” Church of Scientology of California v. U.S. Dep’t of Army,
13   611 F.2d 738, 750 (9th Cir. 1979) (recognizing that the first-to-file rule “should not be
14   disregarded lightly,” but deferring to second filed lawsuit that had progressed to
15   judgment on the merits, appeal, then remand), overruled on other grounds by Animal
16   Legal Def. Fund v. U.S. Food & Drug Admin., 836 F.3d 987 (9th Cir. 2016). While this
17   action could qualify for transfer under first-to-file rule, a stay would best promote the
18   policies of judicial economy and avoiding conflicting judgments at this point in the
19   litigation. Plaintiffs did not bring the Dobkin action promptly to the attention of the
20   Court when arguments about the first-to-file rule would have had more teeth. As the
21   Dobkin action is on the eve of final settlement, the policies behind the first-to-file rule are
22   best promoted by staying the present case.
23

24         Plaintiffs move separately for the Court to stay, dismiss, or transfer the Dobkin
25   action to this court. (Dkt. 110.) This Court does not have jurisdiction to tell a sister
26   federal district court how to manage her docket. The Court can only stay its own case,
27   even when the first-to-file rule applies. Cedars-Sinai Med. Ctr. v. Shalala, 125 F. 3d 765,
28   769 (9th Cir. 1997) (under the first-to-file rule, “when cases involving the same parties

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 Case 8:15-cv-01128-CJC-JCG Document 119 Filed 08/31/17 Page 6 of 6 Page ID #:2013




 1   and issues have been filed in two different districts, the second district court has
 2   discretion to transfer, stay, or dismiss the second case in the interest of efficiency and
 3   judicial economy”) (emphasis added).
 4

 5          For the foregoing reasons, Defendants’ motion to stay the case pending classwide
 6   settlement in the Dobkin action is GRANTED and Plaintiffs’ motion to stay, dismiss, or
 7   transfer the Dobkin action is DENIED.2 Defendants are DIRECTED to file monthly
 8   updates with the Court concerning the status of the Dobkin settlement.
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11          DATED:         August 31, 2017
12                                                       __________________________________
13                                                               CORMAC J. CARNEY
14                                                       UNITED STATES DISTRICT JUDGE
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       Having read and considered the papers presented by the parties, the Court finds this matter appropriate
28   for disposition without a hearing. See Fed. R. Civ. P. 78; Local Rule 7-15. Accordingly, the hearing set
     for September 11, 2017, at 1:30 p.m. is hereby vacated and off calendar.
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